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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHEET METAL WORKERS' LOCAL 19 : CIVIL ACTION
1301 South Columbus Boulevard :
Philadelphia, PA 19147
NO.
and

SHEET METAL WORKERS' HEALTH &
WELFARE FUND OF LOCAL NO. 19
1301 South Columbus Boulevard
Philadelphia, PA 19147

and

SHEET METAL WORKERS' PENSION FUND
OF LOCAL NO. 19

1301 South Columbus Boulevard

Philadelphia, PA 19147

and

SHEET METAL WORKERS' ANNUITY FUND
OF LOCAL NO. 19

1301 South Columbus Boulevard

Philadelphia, PA 19147

and

SHEET METAL WORKERS' VACATION FUND
OF LOCAL NO. 19

1301 South Columbus Boulevard

Philadelphia, PA 19147

and

SHEET METAL WORKERS' SUPPLEMENTAL
UNEMPLOYMENT BENEFIT (S.U.B.) FUND
OF LOCAL NO. 19

1301 South Columbus Boulevard

Philadelphia, PA 19147

and
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SHEET METAL WORKERS' JOINT
APPRENTICESHIP FUND OF PHILADELPHIA
AND VICINITY

1301 South Columbus Boulevard

Philadelphia, PA 19147

and

INDUSTRY FUND OF THE SHEET METAL
CONTRACTORS ASSOCIATION OF
PHILADELPHIA AND VICINITY

1301 South Columbus Boulevard
Philadelphia, PA 19147

and

SHEET METAL WORKERS' INTERNATIONAL
TRAINING INSTITUTE (ITD

601 North Fairfax Street

Suite 600

Alexandria, VA 22314

and

GARY MASINO, TRUSTEE

SHEET METAL WORKERS' LOCAL 19
BENEFIT FUNDS

1301 South Columbus Boulevard
Philadelphia, PA 19147,

Plaintiffs,
v.

EASTERN AIR BALANCE CORPORATION and
TIMOTHY ROATEN, individually

252 South Esbenshade Road

Manheim, PA 17545

Defendants.

COMPLAINT IN CONFESSION

The Parties

1. The Plaintiffs in this action are Sheet Metal Workers' Local No. 19 ("Plaintiff
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Union"), an unincorporated labor organization within the meaning of Section 301 of the Labor
Management Relations Act of 1947, as amended, 29 U.S.C. Section 185, with its principal office
located at 1301 South Columbus Boulevard, Philadelphia, PA 19147, and Sheet Metal Workers'
Health & Welfare Fund of Local No. 19, Sheet Metal Workers' Pension Fund of Local No. 19,
Sheet Metal Workers' Annuity Fund of Local No. 19, Sheet Metal Workers’ Vacation Fund of
Local No. 19, Sheet Metal Workers' S.U.B. Fund of Local No. 19, Sheet Metal Workers' Joint
Apprenticeship Fund of Philadelphia and Vicinity, and the Sheet Metal Workers' International
Training Institute (ITI) ("Plaintiff Funds"), which are due and owing the relief sought from
Eastern Air Balance Corporation and Timothy Roaten, (the "Defendants") as set forth below.
Plaintiff Union brings this action on its own behalf and on behalf of its members who are
participants in and beneficiaries of Plaintiff Funds. Plaintiff Gary Masino is a trustee and
fiduciary of the Funds, and brings this action in such capacity on behalf of the Funds.

2. Defendant Eastern Air Balance Corporation (“Eastern Air”), is a company doing
business at 252 South Esbenshade Road, Manheim, PA 17545. Defendant Timothy Roaten
(“Owner”), is the Owner of Eastern Air.

3. One or both Defendants are engaged in commerce within the meaning of Section
2(6) of the Labor Management Relations Act of 1947, as amended, 29 U.S.C. Section 152(6), and
one or both has employed members of Plaintiff Union pursuant to a collective bargaining
agreement in the Commonwealth of Pennsylvania.

4, One or both defendants are Employers within the meaning of Section 2(2) and
Section 301 of the Labor Management Relations Act of 1947, as amended, 29 U.S.C. Section
152(2) and Section 185; and Sections 3(5) and 515 of the Employee Retirement Income Security

Act of 1974 (ERISA), 29 U.S.C. Section 1002(5) and Section 1145.
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Jurisdiction & Venue

5. Jurisdiction in the District Court is proper pursuant to Section 301 of the Labor
Management Relations Act of 1947, as amended, 29 U.S.C. Section 185, in that one or both
Defendants is an employer within the meaning of the Labor Management Relations Act, and one
or both have been and continue to be a party to collective bargaining agreements which form the
basis of this litigation; and 28 U.S.C. Section 1337, providing for original jurisdiction in civil
actions that arise out of an Act of Congress regulating commerce.

6. Jurisdiction of the District Court is also proper pursuant to Sections 502 and
Section 515 of the Employee Retirement Income Security Act of 1974 (ERISA), 29 U.S.C.
§§1132 and 1145. The Eastern District of Pennsylvania is the proper venue under ERISA Section
502(e)(2), 29 U.S.C. §1132(e)(2), because the Plaintiff Funds are administered in this judicial
district.

Cause Of Action

7. The Plaintiff Union and Defendant Eastern Air are parties to a collective bargaining
agreement(s), which requires that the Defendant Easter Air make certain contributions to the
Plaintiff Funds and remit certain payments to the Plaintiff Union.

8. Defendant Eastern Air has entered into a payment agreement for the repayment of
monies due the Plaintiffs pursuant to said collective bargaining agreement(s). Defendant Owner
has agreed to guarantee personally the amount owed, and in the event of default, Defendants have
agreed to the entry of judgment against them in an amount equal to that set forth in the Judgment
Note (the “Agreement”), a true and correct copy of which is attached hereto as Exhibit A. The
Agreement provides that Plaintiff's may confess judgment on Defendants’ behalf in the event of

default thereunder. Exhibit A, Paragraph 6.
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9. Pursuant to Paragraph 1 of the Agreement, Plaintiffs are entitled to interest on the
unpaid principal to run at the rate of 4.25% until the total principal has been paid. Exhibit A,
Paragraph 1.

10. Pursuant to Paragraph 4 of the Agreement, in the event that Plaintiffs do not
receive payment when due, or in the event that Defendants fail to remain current regarding
continuing benefit contributions, the balance of the principal then owing, together with outstanding
interest and outstanding benefit contributions, shall be paid by Defendants and/or Owner after 5
days written notice by Plaintiffs.

11. Pursuant to Paragraph 6 of the Agreement, in the event that any payment identified
above is not received when due, Defendants have agreed to have judgment entered against them
in favor of the holder of this Note for the above sum with costs of suit, with a reasonable
attorney's fee added.

12. Defendants have defaulted on the Agreement, at least by failing to remain current
with their ongoing obligations, in violation of Paragraph 4 of the Note. Accordingly, the
remaining principal owed on the Note plus interest is now due, in the total amount of $80,330.78.
Notice of default has been provided at the Defendants’ last known address via Certified/Return
Receipt Requested and First Class Regular Mail as contemplated by the Agreement, Paragraph
4; Exhibit B.

13. Defendants have agreed to waive any stay of execution on the Judgment confessed.
Exhibit A, Paragraph 6.

14. The transaction upon which Plaintiffs seek judgment did not arise from a retail
installment sale, contract, or account and was a business transaction.

15. The Defendants are neither incompetent nor infants, nor are the Defendants in
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military service.

16. This Court is authorized to enter judgment in these circumstances. D.H. Overmyer
Co. of Ohio v. Frick Co., 405 U.S. 174 (1972); USA v. Stuart, 392 F2d 60 (3d Cir. 1968); See
Local Rule 56.1- “Judgments Pursuant to Warrant of Attorney”.

WHEREFORE, Plaintiffs request this Court to grant judgment in the form submitted
herewith against the Defendants and in favor of the Plaintiffs in the amount of $80,330.78, plus
attorneys' fees and costs, with interest to run at the rate of 4.25% on the principal balance until

the balance has been paid, and to grant such additional relief as is just.

SPEAR, WILDERMAN, P.C.

wy, MO

BENJAMIN EISNER
230 South Broad Street, Suite 1400
Philadelphia, PA 19102
(215) 732-0101
Dated: December 22, 2016 BE2225

